
55 So. 3d 707 (2011)
Abraham Ben YISRAEL, Appellant,
v.
STATE of Florida, Appellee.
No. 4D10-796.
District Court of Appeal of Florida, Fourth District.
March 2, 2011.
*708 Abraham Ben Yisrael, Okeechobee, pro se.
Pamela Jo Bondi, Attorney General, Tallahassee, and Myra J. Fried, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
We affirm the trial court's order that denied appellant's motion for return of property. Our affirmance is without prejudice to appellant raising this issue in a facially sufficient motion to return property.
MAY, CIKLIN and GERBER, JJ., concur.
